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                     EXHIBIT 3
              Ara Shirinian Mediation
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      PRACICE LIMITED TO ALTERNATIVE DISPUTE RESOLUTION

MR. SHIRINIAN CONDUCTS OVER 200 ARBITRATIONS AND MEDIATIONS
 A YEAR, AND HAS CONDUCTED WELL OVER 2,000 MEDIATIONS AND
                       ARBITRATIONS

QUALIFICATIONS:

                       ·   Over 200 mediations & arbitrations a year
                       ·   Nevada Supreme Court Settlement Judge
                       ·   Judge Pro Tempore, Clark County District Court
                       ·   Judge Pro Tempore, Las Vegas Justice Court
                       ·   Clark County District Court Arbitrator & Mediator
                       ·   Clark County Bar Association Arbitrator & Mediator
                       ·   Nevada Department of Real Estate Arbitrator & Mediator
                       ·   Bar Register of Preeminent Lawyers (A-V rated)
                       ·   Super Lawyers–Mountain States (Alt. Dis. Res.)
                       ·   Super Lawyers–Corporate Counsel Ed. (Alt. Dis. Res.)
                       ·   Vegas, Inc. Top Lawyers
                       ·   Experienced trial attorney

BAR MEMBERSHIPS:

December 1981          California State Bar

December 1981          Supreme Court of the State of California

December 1981          United States District Court, Northern District of California

September 1982         United States District Court, Eastern District of California

February 1982          United States Court of Appeals – Ninth District

July 1986              United States Supreme Court

February 1987          United States District Court, Central District of California

October 1996           Nevada State Bar

March 1997             United States District Court, District of Nevada
                                       Ara Shirinian Mediation
                         10651 Capesthorne Way, Las Vegas, Nevada 89135
               Ph: (702) 496-4985 • Fax: (702) 434-3650 • Email: arashirinian@cox.net
   Case 2:15-cv-01673-JCM-GWF Document 17-3 Filed 02/01/16 Page 3 of 4




REPRESENTATIVE LAW FIRMS ON WHOSE BEHALF MEDIATIONS
CONDUCTED:


                  Aaron & Paternoster
                  Adams Law Group
                  Albright, Stoddard, Warnick & Albright
                  Aldrich Law Firm
                  Alverson, Taylor, Mortensen, Nelson & Sanders
                  Angius & Terry
                  Arin & Associates
                  Armstrong Teasdale
                  Asberom & Brown
                  Atkin, Winner & Sherrod
                  Bailey Kennedy
                  Bell & Young
                  Benson & Bingham
                  Benson, Bertoldo, Baker & Carter
                  Bowler, Dixon & Twitchell
                  Boyack & Beck
                  Brownstein Hyatt Farber & Schreck
                  Bullivant Houser Bailey
                  Callister & Associates
                  Campbell & Williams
                  Cap & Kudler
                  Christensen Law Offices
                  Christiansen Law Offices
                  Cisneros Clayson & Marias
                  Cohen, Johnson & Day
                  John H. Cotton & Associates
                  Dempsey, Roberts & Smith
                  Dennett Winspear
                  Dixon, Truman, Fisher & Clifford
                  Doberstein & Associates
                  Law Offices of Lee A. Drizen
                  Ellis & Gordon
                  Fennemore Craig
                  Flangas McMillan Law Group
                  Gazda & Tadayon
                  Gordon & Rees
                  Gordon & Silver
                  Graziadei & Cantor
                  Greenberg Traurig
                  Greenman, Goldberg, Raby & Martinez
                  Hall, Jaffe, Clayton
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                 Law Offices of Melissa P. Harris
                 Harrison, Kemp, Jones & Coulthard
                 Holland & Hart
                 Hutchinson & Steffen
                 Jolley, Urga, Wirth, Woodbury & Standish
                 Jones Vargas
                 Kajioka & Bloomfield
                 Kolesar & Leatham
                 Kravitz, Schnitzer & Sloane
                 Lacquer, Urban, Clifford & Hodge
                 Law Offices of James J. Lee
                 Law Offices of John Peter Lee
                 Laxalt & Nomura
                 Lewis & Roca
                 Lewis, Brisbois Bisgaard & Smith
                 Lionel, Sawyer & Collins
                 Marquis, Aurbach & Coffing
                 McCormick, Barstow, Sheppard, Wayte & Carruth
                 McDonald Carano Wilson
                 Moran Law Firm
                 Olson, Cannon, Gormley & Desruisseaux
                 Parker, Nelson & Associates
                 Parson, Behle & Latimer
                 Pearson, Patton, Shea, Foley & Kurtz
                 Peel Brimley
                 Phillips, Spallas & Angstadt
                 Pisanelli Bice
                 Porter & Terry
                 Prince & Keating
                 Pyatt, Silvestri & Hanlon
                 Rogers, Mastrangelo, Carvalho & Mitchell
                 Royal, Jones, Miles Dunkley & Wilson
                 Santoro, Driggs, Walch, Kearney, Holley & Thompson
                 Snell & Wilmer
                 Shook & Stone
                 Stephens, Gourley & Bywater, P.C.
                 Stephenson & Dickinson
                 Thorndal, Armstrong Delk, Balkenbush, & Eisinger
                 Wilson, Elser, Moskowitz, Edelman & Dicker
                 Wood, Smith, Henning & Berman
                 Wright & Weiner

 FEES
 $425 per hour




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